                             CASE 0:20-cr-00181-PJS-BRT Document 25 Filed 08/31/20 Page 1 of 1

                                       IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF MINNESOTA

                                             ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                               COURT MINUTES - CRIMINAL
                 Plaintiff,                                                   BEFORE: TONY N. LEUNG
 v.                                                                              U.S. Magistrate Judge

Davon De-Andre Turner (2),                                       Case No:               20-cr-181 PJS/BRT
                     Defendant.                                  Date:                  August 31, 2020
                                                                 Video Conference
                                                                 Time Commenced:        4:58 p.m.
                                                                 Time Concluded:        5:03 p.m.
                                                                 Time in Court:         5 minutes



APPEARANCES:

   Plaintiff: Harry Jacobs, Assistant U.S. Attorney
   Defendant: Deborah Ellis,
                       X CJA

Indictment Dated: August 25, 2020

          X Reading of Indictment Waived          X Not Guilty Plea Entered

Government Disclosures Due Date:             September 8, 2020
Defendant’s Disclosures Due Date:            September 14, 2020
Motion Filing Date:                          September 21, 2020
Motion Response Date:                        October 5, 2020
Notice of Intent to call Witnesses:          October 5, 2020
Responsive Notice Deadline:                  October 7, 2020
Motion Hearing Date:                         October 14, 2020 at 2:00 p.m. before Magistrate Judge Becky R. Thorson in CR6A, St.
                                                         Paul
Voir Dire/Jury Instruction Due Date:         October 21, 2020
Status Conference Date:                      October 30, 2020 at 9:00 a.m. before District Judge Patrick J. Schiltz in CR14E,
                                                         Minneapolis
Trial Date:                                  November 2, 2020 at 9:00 a.m. before District Judge Patrick J. Schiltz in CR14E,
                                                                               Minneapolis

Other Remarks:

   X Counsel to be notified of additional dates by separate Order to be issued.
   X Defendant consents to this hearing via video conference.

                                                                                                                   s/SAE
                                                                                           Signature of Courtroom Deputy


M:\templates\Arraignment Minutes.wpt                                                                             Template Updated 06/2013
